Case 1:20-cv-01007-RDB Document 1 Filed 04/20/20 Page 1 of 1

UNITED STATES DISTRICT COURT | a

ED ™_,
US District Court Ap Wage
Att: Clerk of the Court 2 29 “Wey
101 West Lombard Street Chee, Ar <b2n
Baltimore, MD, 21201 ay OST LS San,

OP Maa Co
"ayy

Re: Return of Property b
Ref Case # RDB-1-17-CR-00338-001 ry

Comes Now, TITO ARGUETA FOLGAR, hereafter "UNDERSIGNED" without the
benefit of attorney , to’ request the Honorable court to issue an
order for return of his property.

The property includes : Cell phone (smartphone) and $820 USD.
ARGUETA FOLGAR has attempted to acquire his property in the past
(these two aforementioned items) but without resust.

ARGUETA FOLGAR is humbly asking this honorable court to issue an
order to the government in order to locate and return his property.
ARGUETA FOLGAR prays that this honorable court will help him

to get his property back.

Very respectfully Submitted,
this 3 day of Apriili, 2020
by: - dd’,

FITO ARGUETA FOLGAR
#70950-050 , MVCC

555 GEO DRIVE
PHILIPSBURG, PA, 16866
